Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 1 of 15
Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 2 of 15
Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 3 of 15
Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 4 of 15
Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 5 of 15
Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 6 of 15
Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 7 of 15
Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 8 of 15
Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 9 of 15
Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 10 of 15
Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 11 of 15
Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 12 of 15
Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 13 of 15
Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 14 of 15
Case 2:12-bk-14088-RN   Doc 1 Filed 02/03/12 Entered 02/03/12 16:36:50   Desc
                        Main Document    Page 15 of 15
